         Case 1:18-md-02865-LAK        Document 240        Filed 12/06/19     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re
                                                                 MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                 Case No. 1:18-md-02865-LAK
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION,

 This document relates to 1:18-cv-05053-LAK



    DECLARATION OF KRISTEN G. NIVEN IN SUPPORT OF THIRD-PARTY
 DEFENDANT ED&F MAN CAPITAL MARKETS LIMITED’S MOTION TO DISMISS
              THE AMENDED THIRD-PARTY COMPLAINT

         Kristen G. Niven, an attorney duly admitted to practice in the State of New and in the

Southern District of New York, hereby declares, under penalty of perjury pursuant to 28 U.S.C. §

1746, as follows:

1.       I am an associate of the law firm Akerman LLP, attorneys for Third-Party Defendant

ED&F Man Capital Markets, Ltd. (“ED&F Man”) in the above-captioned action. The facts stated

in this declaration are known to me personally or are based on information provided in the annexed

exhibits.

2.       I submit this declaration in support of ED&F Man’s motion to dismiss the Amended Third-

Party Complaint of Defendants-Third-Party Plaintiffs the Goldstein Law Group PC 401(K) Profit

Sharing Plan (the “Goldstein Plan”) and Sheldon Goldstein (“Goldstein” and collectively with the

Goldstein Plan, the “Goldstein Defendants”).

3.       A true and correct copy of The Goldstein Defendants’ Amended Answer, Affirmative

Defenses, and Counterclaims against SKAT and Amended Third-Party Complaint against ED&F

Man, dated November 5, 2019, with exhibits, is annexed hereto as Exhibit “A.”
      Case 1:18-md-02865-LAK           Document 240          Filed 12/06/19    Page 2 of 2




4.     A true and correct copy of the application form dated March 23, 2012, completed and

signed by Goldstein on behalf of the Goldstein Plan (the “Application Agreement”), is annexed

hereto as Exhibit “B.”

5.     A true and correct copy of the Power of Attorney dated March 23, 2012, signed by

Goldstein on behalf of the Goldstein Plan in favor of Acer Investment Group, LLC (the “Power of

Attorney”), is annexed hereto as Exhibit “C.”

6.     A true and correct copy of a cover letter enclosing the Terms and Conditions of Business

for ED&F Man with a confirmation of election statement required under the then United Kingdom

Financial Services Authority (“FSA”) Rules, signed by Goldstein on April 18, 2012 (the “Cover

Letter”), is annexed hereto as Exhibit “D.”

7.     A true and correct copy of the Terms and Conditions of Business for ED&F Man in effect

at the time of the execution of the Application Agreement, with Variations thereto signed by

Goldstein (the “Terms”), is annexed hereto as Exhibit “E.”

8.     A true and correct copy of: (i) the Particulars of Claim in SKAT v. Solo Capital Partners

LLP & Others, [2018] EWHC (Comm), Claim No’s. CL-2018-000297; CL-2018-000404; CL-

2018-000590 (Eng.), dated September 24, 2018, together with Schedule 5T thereto; (ii) the

amended Particulars of Claim and Schedule 5T dated March 13, 2019; and (iii) the re-amended

Particulars of Claim dated July 30, 2019, are collectively annexed hereto as Exhibit “F.”

       I, KRISTEN G. NIVEN, hereby declare under penalty of perjury that the foregoing is true

and correct.

         Dated: December 6, 2019
         New York, New Yok



                                                    /s/ Kristen G. Niven____
                                                    Kristen G. Niven
